                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                        )
                                                 )        Case No. 1:20-cr-089-01
 v.                                              )
                                                 )        Judge Travis R. McDonough
                                                 )
 JORDAN JACKSON                                  )        Magistrate Judge Susan K. Lee
                                                 )


                                             ORDER


         Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

 the Court: (1) grant Defendant’s motion to withdraw his not-guilty plea as to Count One of the

 one-count Indictment; (2) accept Defendant’s guilty plea as to Count One; (3) adjudicate the

 Defendant guilty of Count One; (4) defer a decision on whether to accept the plea agreement

 until sentencing; and (5) order that Defendant remain in custody until sentencing in this matter

 (Doc. 56). Neither party filed a timely objection to the report and recommendation. After

 reviewing the record, the Court agrees with Magistrate Judge Lee’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation (Doc. 56) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

      1. Defendant’s motion to withdraw his not-guilty plea as to Count One of the Indictment is

         GRANTED;

      2. Defendant’s plea of guilty to Count One is ACCEPTED;

      3. Defendant is hereby ADJUDGED guilty of Count One;

      4. A decision on whether to accept the plea agreement is DEFERRED until sentencing; and




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    5. Defendant SHALL REMAIN in custody until sentencing in this matter which is scheduled

       to take place on March 11, 2022 at 2:00 p.m. [EASTERN] before the undersigned.

    SO ORDERED.


                                          /s/Travis R. McDonough
                                          TRAVIS R. MCDONOUGH
                                          UNITED STATES DISTRICT JUDGE




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